|N THE LIN|TE|.'.'I STATES D|STF{JCT CC*LIRT
FClF{ THE M|DDLE DISTR|CT C‘lF TENNESSEE
NASHV|LLE D|V|B|C*N

ECIUAL EMPLOYMENT UPFUFFZTUN|TY
CDMMESS[GN,

F‘laihtl'ff Cl'l.l'lL ACT|GN NG.

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SUUTHEAST WAFFE_ES, L.LC,
lifbe WAFFLE HGUSE.

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Defendant JURY TR|AL DEM|AND

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NATL|RE DF THE ACTEDN

This is an action under Tit|e 'u'|| of the Ciui| Rights Act of 1964, as amendedr 42
U.S.E. §§ ZUUUe et B. {Tit|e VJ|L and Section 102 of the Ciuil Ftights Act ot 1291, 42
U.S.C. §19tlta, to correct unlawful employment practices on the basis of sexl and to
provide appropriate relief to four female empioyees who Defendant Emp|oyer subjected
to unlawful sexual harassment because ot their sex.

JUR|SD|CT|DN AND VENUE

1. Jurisdiction of this Court is invoked pursuant to 23 L_J.S.C. §§ 451. 1331,
133?, 1343 and 1345 This action is authorized and instituted pursuant to Sections
?UE{f}U) and (3} of `l'it[e 'u'|l and Secticn 102 of the Ciui| Rights Act cf 1951'11 42 U.B.C. §
tQBta_

2. The unlawful employment practices alleged below were and are now
being committed within the jurisdiction of the United States District Court for the Iu'liddle

District of Tennessee, Nashui||e Diuision.

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F'ART|ES

3, l='|aintitf1 the Equal Employment Dpportunity Commission {the
Commission}, is the agency of the United States of 1america charged with the
administration, interpretation1 and enforcement of Titie `v'|L and is expressly authorized
to bring this action by § ?Dbff]rft} and [3} of Tif]e 1'v"l|. 42 U.S.C. § 2f1ll.`.l[ie*5[fjl[‘l} and {3].

4. At all relevant times1 Defendant SouthEast Waffles, LLC`., doing business
as Waffie House {Defendant Emp|oyer]l has continuously been a Tennessee corporation
doing business in the state of Tennessee and the city of Nashvi||e, and has continuously
had at least fifteen employees

5. At all relevant times []efendant Emp|oyer has continuously been ah
employer engaged in an industry affecting commerce within the meaning of Sections
?lfl‘|{b}, l[g] and [hj of Tit|e ‘v'||, 42 L.J.S.C. §§ 21‘.flffltljletb]l1 {g] and {h].

STATEMENT DF CLA|MS

E. lvlore than thirty days prior to the institution of this lawsuit, ina Cowan filed
a charge with the Commission alleging violations of '|`it|e V|| by Defendant Employer.
A|| conditions precedent to the institution of this lawsuit have been fulfilledl

?_ Sir'rce at least approximateiy June 15, 2{]'|1'|51 Defendant Emp|oyer has
engaged in unlawful employment practices at its restaurant located at 3304 Diclterson
F*ike in Nasbvi||e, Tennessee, in violation of Section `.='UB{a} of Titie ‘v'|i, 42 U.B.C. §
2{JClCle-2[a} and E(aj. The unlawful employment practices involved subjecting '|na
Cowan and other female employees, inctuding at least Pauia l'v'liche|le Clarlt, Sandy

l'vlcEwen1 and Tamrrly 1'r"'~f::'i||ter, to sexual harassment because of their se)~:.

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B. The unlawful sexual harassment included unwelcome sexual touching of
lvls. Cowan, |'vls. Clark, and |'vls. lvlcl£wen1 and other unweicome sexual conduct, by
John l~lon'nan1 the cook who was in charge of the third shift.

9. The unlawful sexual harassment also included frequent requests for
sexual conduct, and other frequent unwelcome sexual comments made to l'v'|s. Cowat'r.
ivis. C|ark1 ivls. lvicEwen1 and lvis. Wa|ker, by lvir. Norman.

1{]. The unwelcome sexual conduct by l‘v'lr. Norrnan was frequent enough and
severe enough to alter the conditions of the victim's employment and create an abusive
working environment

11. lv'ls. Cowart, l‘vls. Clark, l'vls. l'vlcEwen, and lvls. Wa|ker each complained to
their managers about the unwelcome sexual conduct, but their managers failed to take
prompt and appropriate corrective action to end the harassment

12. The effect of the practices complained of in paragraphs ?' through 11
above has been to deprive ina Cowan and other women, including at least Paula
lviiche|le E|ark, Bandy lv|cEwen, and Tammy Wa|ker, of equal employment opportunities
and otherwise adversely affect their status as employees because of their sex.

13_ The unlawful employment practices complained of in paragraphs 'r'
through 11 above were intentional

14. The unlawful employment practices complained of in paragraphs ?
through 11 above were done with malice andfor with reckless indifference to the
federally protected rights of ina Cowan and other women, including at least Pau|a

l'vlichelle Clark, Sandy |'vlcEwen, and Tammy Wa|ker.

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FRAYER FUR REL|EF

Therefor‘e the Commission respectfully requests that this Court:

A. Grant a permanent injunction enjoining Defendar'rt Employer and its
officers, successorsl assigns, and all persons in active concert or participation with it1
from engaging in any employment practice which discriminates against employees
because of their sex;

B. Clrder Defendant Emp|oyer to institute and carry out policies, practices
and programs which provide equal employment opportunities for female employees,
and which eradicate the effects of Defendant Emp|oyer's unlawful employment practices
described in paragraphs 1'-11 above;

C. C*rder Defendant Emp|oyer to make whole F'aula |'vlichelle Elark1 Sandy
i`vlcEwen, and Tammy Watker by providing compensation for nonpecuniary losses
resulting from the unlawful employment practices, including emotional and
psychological pain and suffering, in amounts to be determined at tria|;r

D. Cirder Defendant Emp|oyer to pay Pau|a l‘vlichelle Clark, Sandy l'vlcEwen1
and Tammy l1."11'a|ker punitive damages for its malicious andfor reckless conduct1 in
amounts to be determined at trial;

E. Grant such further relief as the Eourt deems necessary and proper in the
public interest; and

F. reward the Cornmission its costs of this action.

JURY TR|AL DEMAND
The Gommission requests a jury trial orr all questions of fact raised by its

complaintr

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JAMES LEE
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